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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 FORT MYERS DIVISION

UNITED STATES OF AMERICA

-vs-                                                               Case No.: 2:05-cr-5-FtM-33SPC

ALEXIS MIGUEL GONZALEZ
_______________________________________


                             REPORT AND RECOMMENDATION

TO THE UNITED STATES DISTRICT COURT

         This matter comes before the Court upon referral from the District Court regarding the matter

of a competency determination. On June 28, 2005, the Defendant filed a Motion to Transport (Doc.

#162) asking that the Defendant be transported to Dr. Muriel Myint for a mental health evaluation.

The motion was granted on June 29, 2005 (Doc. # 165). On August 25, 2005, the Defendant filed

a Motion for Determination of Competency (Doc. #202) which stated that Dr. Myint concluded that

the Defendant is not presently competent for trial. On August 30, 2005, an Order was entered

directing the Defendant be transported to a federal facility with the capability of conducting a mental

health evaluation. At that time, a copy of Dr. Myint’s report was provided in camera to the Court

(Doc. #S2). Upon completion of the examination at the federal facility, the Court was provided in

camera a copy of the report (Doc. #S3) which concluded that the Defendant is competent to stand

trial.

         On November 10, 2005 a status hearing was held to determine how the Court should proceed.

The government was represented by Assistant U.S. Attorney, Jesus Casas. The Defendant was

present in person, together with Russell Rosenthal from the Office of the Federal Public Defender.
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At that hearing, defense counsel requested a continuance to allow Dr. Myint to review the

government expert’s report.

        Another hearing on the matter was held on November 22, 2005 with the same parties present.

At that hearing defense counsel advised the Court that upon review of the government expert’s

report, the defense stipulates that the Defendant is competent to stand trial.

        Accordingly, it is now

        RECOMMENDED:

        That the Defendant be found competent to proceed to trial or enter a plea of guilty.

        Failure to file written objections to the proposed findings and recommendations contained in

this report within ten (10) days from the date of its filing shall bar an aggrieved party from attacking

the factual findings on appeal.

        RESPECTFULLY RECOMMENDED at Fort Myers, Florida, this                       23rd    day of

 November, 2005.




Copies:
All Parties of Record




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